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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
        v.                                     :       Criminal No. 21-cr-138 (JEB)
                                               :
AARON MOSTOFSKY,                               :
                                               :
                       Defendant.              :

 GOVERNMENT’S UNOPPOSED MOTION FOR ONE-WEEK EXTENSION OF TIME
  TO FILE ITS OPPOSITION TO DEFENDANT’S SECOND MOTION TO DISMISS
                    COUNTS ONE, TWO, FIVE AND SIX

        Defendant Aaron Mostofsky filed his sixty-page Second Motion to Dismiss Counts One,

Two, Five, and Six, ECF47, on August 31, 2021, after the Court directed him to reduce the

length of that motion. Although the Court did not order the government to file its opposition on a

fixed date, the government sought to file its response two weeks after the motion was filed,

which would be this coming Tuesday, September 14. Although the government has made

substantial progress in drafting its opposition, it will be unable to file the brief by tomorrow, in

part because some of the attorneys working on the draft have been diverted to other pressing

matters.

        Last week, the Court rescheduled the trial date in this case from October 18, 2021 to

January 24, 2022, giving it more time to resolve pre-trial motions. Mostofsky is not in custody

and will not be prejudiced by the requested extension of time. I spoke to Nicholas Smith,

Esquire, counsel for Mostofsky, today, who graciously informed me that he does not object to

this request.
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       For those reasons, the government respectfully requests that the Court direct the

government to file its opposition to Mostofsky’s second motion to dismiss Counts One, Two,

Five, and Six by September 21, 2021.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793

                                     By:     /s/ Graciela R. Lindberg
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                                 CERTIFICATE OF SERVICE

       On this 13th day of September 2021, a copy of the foregoing was served on counsels of
record for the defendant via the Court’s Electronic Filing System.

                                                           /s/
                                                    Graciela R. Lindberg
                                                    Assistant United States Attorney
